                                         UNITED STATES BANKRUPTCY COURT


                                                              Minute Entry
Hearing Information:
                       Debtor:   ARLENE & RONALD J SILVER
                 Case Number:    2:17-BK-07624-SHG                       Chapter: 11

          Date / Time / Room:    TUESDAY, JUNE 19, 2018 02:00 PM 3RD FLOOR #301

         Bankruptcy Judge:       SCOTT H. GAN
              Courtroom Clerk:   TERESA MATTINGLY
               Reporter / ECR:   KAYLA COLASONT                                                                                           0.00


Matter:
              PRELIMINARY HEARING ON MOTION FOR RELIEF FROM STAY RE: 2701 W GLENDALE RD., PHOENIX, AZ
              85051 FILED BY JOSEPH JOHN TIRELLO JR. OF ZIEVE, BRODNAX & STEELE, LLP ON BEHALF OF U.S.
              BANK NA.
              R / M #: 71 / 0



Appearances:
        KYLE A. KINNEY, ATTORNEY FOR ARLENE SILVER, RONALD J SILVER, Appearing by telephone
        JOSEPH JOHN TIRELLO, ATTORNEY FOR U.S. BANK NA

Proceedings:                                                                                                                      1.00

        The Court states that it appears there is a dispute as to whether the property has equity or whether the property is necessary for
        an effective reorganization. The debtor contends that the creditor was tendered adequate protection payments but the creditor
        refused to accept them. The Court asks if the parties have reached any agreement.

        Mr. Tirello has spoken with Mr. Kinney and a stipulation will be filed for the use of cash collateral to apply the funds to the
        outstanding post petition arrears. The case has pretty much boiled down to some latent creditors and his client's interest in
        the subject property. The parties have agreed to a one-minute final hearing to allow the debtor to bring the post petition
        payments current and propose treatment in the plan to address U.S. Bank's concerns.

        The Court is aware that Mr. Kinney filed a disclosure statement and plan. It inquires as to whether Mr. Kinney has requested
        a hearing on approval of the disclosure statement.

        Mr. Kinney has not done that yet.

        The Court would typically move the plan confirmation and motion for relief from stay forward together. It will set a
        one-minute final hearing at which it will set a hearing on approval of the disclosure statement.

        Mr. Kinney and Mr. Tirello understand.

        COURT: THE HEARING IS CONTINUED TO A ONE-MINUTE FINAL ON THURSDAY, JULY 19, 2018 AT 2:00
        P.M.




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